      Case: 1:20-cv-01436 Document #: 1 Filed: 02/27/20 Page 1 of 7 PageID #:1




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

EQUAL EMPLOYMENT OPPORTUNITY             )
COMMISSION,                              )
                                         )
                  Plaintiff,             )               CIVIL ACTION NO.
                                         )
            v.                           )               COMPLAINT
                                         )
FOX    GLENVIEW,       LLC;   DP    FOX )                JURY TRIAL DEMAND
VENTURES, LLC; AND FOX ILLINOIS )
STAFFING, LLC., d/b/a                    )
CHICAGO HARLEY DAVIDSON                  )
                                         )
                  Defendants.           ))
________________________________________ )

                                 NATURE OF THE ACTION

       This is an action under Title VII of the Civil Rights Act of 1964, as amended, and Title I

of the Civil Rights Act of 1991, to correct unlawful employment practices on the basis of sex and

retaliation, and to provide appropriate relief to Amy Hartman (“Hartman”), who was adversely

affected by such practices. As alleged with greater particularity below, the U.S. Equal

Employment Opportunity Commission (the “Commission” or “EEOC”) alleges that the

Defendants, DP Fox Ventures, LLC; Fox Glenview, LLC; and Fox Illinois Staffing, LLC

(individually or jointly d/b/a Chicago Harley Davidson and herein referred to as “Defendants” or

“Fox”), engaged in sex discrimination against Hartman by subjecting her to sexual harassment,

creating and maintaining a hostile work environment because of her sex, female, and retaliating

against Hartman by terminating her employment after she complained.

                                JURISDICTION AND VENUE

       1.      Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451, 1331, 1337,

1343 and 1345. This action is authorized and instituted pursuant to Section 703(a)(1), 706(f)(1)



                                              Page 1
       Case: 1:20-cv-01436 Document #: 1 Filed: 02/27/20 Page 2 of 7 PageID #:2




and (3) of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e-2(a)(1),

5(f)(1) and (3) (“Title VII”), and Section 102 of the Civil Rights Act of 1991, 42 U.S.C. § 1981a.

       2.      The employment practices alleged to be unlawful were and are now being

committed within the jurisdiction of the United States District Court for the Northern District of

Illinois, Eastern Division.

                                            PARTIES

       3.      Plaintiff, the Equal Employment Opportunity Commission, is the agency of the

United States of America charged with the administration, interpretation and enforcement of

Title VII and is expressly authorized to bring this action by Sections 706(f)(1) and (3) of Title

VII, 42 U.S.C. § 2000e-5(f)(1) and (3).

       4.      At all relevant times, Defendant DP Fox Ventures, LLC has continuously been a

corporation doing business in the State of Illinois and has continuously had at least fifteen (15)

employees.

       5.      At all relevant times, Defendant Fox Glenview, LLC has continuously been a

corporation doing business in the State of Illinois and has continuously had at least fifteen (15)

employees.

       6.      At all relevant times, Defendant Fox Illinois Staffing, LLC has continuously been

a corporation doing business in the State of Illinois and has continuously had at least fifteen (15)

employees.

       7.      At all relevant times, Defendant DP Fox Ventures, LLC has continuously been an

employer engaged in an industry affecting commerce within the meaning of Sections 701(b), (g)

and (h) of Title VII, 42 U.S.C. §§ 2000e-5(b), (g) and (h).




                                               Page 2
       Case: 1:20-cv-01436 Document #: 1 Filed: 02/27/20 Page 3 of 7 PageID #:3




       8.      At all relevant times, Defendant Fox Glenview, LLC has continuously been an

employer engaged in an industry affecting commerce within the meaning of Sections 701(b), (g)

and (h) of Title VII, 42 U.S.C. §§ 2000e-5(b), (g) and (h).

       9.      At all relevant times, Defendant Fox Illinois Staffing, LLC has continuously been

an employer engaged in an industry affecting commerce within the meaning of Sections 701(b),

(g) and (h) of Title VII, 42 U.S.C. §§ 2000e-5(b), (g) and (h).

       10.     On information and belief, each or all of Defendants, individually and/or as a joint

or single employer, were Ms. Hartman’s employer, and Defendants individually or jointly were

doing business as “Chicago Harley Davidson.”

                                  CONDITIONS PRECEDENT

       11.     More than thirty days prior to the institution of this lawsuit, Hartman filed a

charge with the Commission alleging violations of Title VII by Defendants. All conditions

precedent to the institution of this lawsuit have been fulfilled.

       12.     On June 27, 2019, the Commission issued to Defendants a Letter of

Determination finding reasonable cause to believe that Title VII was violated and inviting

Defendants to join with the Commission in informal methods of conciliation to endeavor to

eliminate the unlawful employment practices and provide appropriate relief.

       13.     The Commission engaged in communications with Defendants to provide

Defendants the opportunity to remedy the discriminatory practices described in the Letter of

Determination.

       14.     On September 10, 2019, the Commission issued to Defendants a Notice of Failure

of Conciliation advising Defendant that the Commission was unable to secure from Defendants a

conciliation agreement acceptable to the Commission.




                                                Page 3
       Case: 1:20-cv-01436 Document #: 1 Filed: 02/27/20 Page 4 of 7 PageID #:4




                                   STATEMENT OF CLAIMS

       15.     Since at least on or about October 2015, Defendants have engaged in unlawful

employment practices, in violation of Sections 703(a)(1) and 704(a) of Title VII, 42 U.S.C.

2000e-2(a)(1), 2000e-3(a), at their Glenview, Illinois, location. These unlawful practices include,

but are not limited to, the following:

       (a).    Defendants engaged in sex discrimination against Hartman by subjecting her to

               severe or pervasive sex harassment and by creating and maintaining a hostile

               work environment, because of her sex (female). The harassment Hartman was

               subjected to included, but was not limited to, graphic sexual conversation,

               unwelcome touching, receiving graphic sexual images, unwelcome and repeated

               propositions for sex, solicitation of unwelcome physical contact, and intimidation.

        (b).   Defendant was aware of such conduct because Hartman and other employees

               complained to the company about the conduct and the conduct was perpetrated, in

               part, by Defendants’ managers or in the presence of Defendants’ managers.

       (c)     Defendants engaged in retaliation against Hartman after she complained to

               Defendants about sexual harassment by terminating Hartman’s employment.

       16.     The effect of the practices complained of above has been to deprive Hartman of

equal employment opportunities and otherwise adversely affect her status as an employee,

because of her sex, female, and because she engaged in protected activity under Title VII.

       17.     The unlawful employment practices complained of above were intentional.

       18.     The unlawful employment practices complained of above were done with malice

or with reckless indifference to the federally protected rights of Hartman.




                                               Page 4
Case: 1:20-cv-01436 Document #: 1 Filed: 02/27/20 Page 5 of 7 PageID #:5




                            PRAYER FOR RELIEF

Wherefore, the Commission respectfully requests that this Court:

A.     Grant a permanent injunction enjoining Defendants, their officers, agents,

       servants, employees, attorneys, successors, assigns, and all persons in active

       concert or participation with it, from maintaining a sexually hostile work

       environment.

B.     Grant a permanent injunction enjoining Defendants, their officer, agents, servants,

       employees, attorneys, and all persons in active concert or participation with it,

       from retaliating against employees who oppose practices made unlawful by Title

       VII.

C.     Order Defendants to institute and carry out policies, practices, and programs that

       provide equal employment opportunities for women and for persons who engage

       in protected opposition under Title VII, and which eradicate the effects of its past

       and present unlawful employment practices.

D.     Order Defendants to make whole Hartman, by providing appropriate back-pay

       with prejudgment interest, in amounts to be determined at trial, and other

       affirmative relief necessary to eradicate the effects of its unlawful employment

       practices, including, but not limited to, reinstatement for Hartman and/or front-

       pay.

E.     Order Defendants to make whole Hartman by providing compensation for past

       and future pecuniary losses resulting from the unlawful employment practices

       described above, in amounts to be determined at trial, including, but not limited

       to, job search expenses.




                                       Page 5
Case: 1:20-cv-01436 Document #: 1 Filed: 02/27/20 Page 6 of 7 PageID #:6




F.     Order Defendants to make whole Hartman by providing compensation for past

       and future nonpecuniary losses resulting from the unlawful practices complained

       of above, including, but not limited to, emotional pain, suffering, inconvenience,

       loss of enjoyment of life, humiliation, loss of self-esteem, and loss of civil rights,

       all in amounts to be determined at trial.

G.     Order Defendants to pay Hartman punitive damages for its malicious and reckless

       conduct, as described above, in amounts to be determined at trial.

H.     Grant such further relief as the Court deems necessary and proper in the public

       interest.

I.     Award the Commission its costs of this action.

                            JURY TRIAL DEMAND

The Commission requests a jury trial on all questions of fact raised by its complaint.


February 27, 2020

                                                Sharon Fast Gustafson
                                                General Counsel

                                                James L. Lee
                                                Deputy General Counsel

                                                Gwendolyn Young Reams
                                                Associate General Counsel

                                                Equal Employment Opportunity
                                                Commission
                                                131 M St. NE
                                                Washington, DC 20507

                                                s/ Gregory M. Gochanour
                                                Greg Gochanour
                                                Regional Attorney

                                                s/ Deborah L. Hamilton



                                       Page 6
Case: 1:20-cv-01436 Document #: 1 Filed: 02/27/20 Page 7 of 7 PageID #:7




                                          Deborah L. Hamilton
                                          Supervisory Trial Attorney

                                          s/ Richard J. Mrizek
                                          Richard J. Mrizek
                                          Trial Attorney

                                          s/ Jonathan Delozano
                                          Jonathan Delozano
                                          Trial Attorney

                                          Equal Employment Opportunity
                                          Commission
                                          Chicago District Office
                                          230 S. Dearborn, Suite 2920
                                          Chicago, IL 60604
                                          312-872-9724




                                 Page 7
